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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                        )
In re:                                  )
                                        )                                  Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P., 1    )
                                        )                                  Case No. 19-34054 (SGJ)
            Reorganized Debtor.         )
                                        )
                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.       )
                                        )
                  Plaintiff,            )
vs.                                     )                                  Adv. Pro. No. 21-03005 (SGJ)
                                        )
NEXPOINT ADVISORS, L.P., JAMES DONDERO, )
NANCY DONDERO, AND THE DUGABOY )
INVESTMENT TRUST,                       )
                                        )
                 Defendants.            )
                                        )

                                      CERTIFICATE OF SERVICE

      I, Aljaira Duarte, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

        On September 28, 2021, at my direction and under my supervision, employees of KCC
caused the following documents to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

     •   Highland’s Opposition to Motion to Dismiss Fifth, Sixth, and Seventh Claims for
         Relief [Docket No. 74]

     •   Highland’s Memorandum of Law in Support of Opposition to Motion to Dismiss
         Fifth, Sixth, and Seventh Claims for Relief [Docket No. 75]

     •   Debtor’s Objection to Motion to Compel Arbitration and Stay Litigation [Docket
         No. 76]


1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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   •   Debtor’s Brief in Support of its Objection to Motion to Compel Arbitration and
       Stay Litigation [Docket No. 77]

   •   Declaration of John A. Morris in Support of Debtor’s Objection to Motion to
       Compel Arbitration and Stay Litigation [Docket No. 78]


Dated: October 5, 2021
                                            /s/ Aljaira Duarte
                                            Aljaira Duarte
                                            KCC
                                            222 N Pacific Coast Highway, Suite 300
                                            El Segundo, CA 90245




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                             EXHIBIT A
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                                                                    Exhibit A
                                                              Adversary Service List
                                                             Served via Electronic Mail



             Description                      CreditorName                    CreditorNoticeName                               Email
                                                                                                             john@bondsellis.com;
                                                                                                             john.wilson@bondsellis.com;
                                                                       John Y. Bonds, III, John T. Wilson, bryan.assink@bondsellis.com;
                                      Bonds Ellis Eppich Schafer       IV, Bryan C. Assink, Clay M. Taylor, clay.taylor@bondsellis.com;
 Counsel for James Dondero            Jones LLP                        William R. Howell, Jr.                william.howell@bondsellis.com
 Financial Advisor to Official                                         Earnestiena Cheng, Daniel H           Earnestiena.Cheng@fticonsulting.com;
 Committee of Unsecured Creditors     FTI Consulting                   O'Brien                               Daniel.H.O'Brien@fticonsulting.com
 Counsel for Nancy Dondero            Greenberg Traurig, LLP           Daniel P. Elms                        elmsd@gtlaw.com
                                                                       Melissa S. Hayward, Zachery Z.        MHayward@HaywardFirm.com;
 Counsel for the Debtor               Hayward & Associates PLLC        Annable                               ZAnnable@HaywardFirm.com
                                                                                                             ddraper@hellerdraper.com;
 Counsel for the Dugaboy Investment                                    Douglas S. Draper, Leslie A. Collins, lcollins@hellerdraper.com;
 Trust and Get Good Trust             Heller, Draper & Horn, L.L.C.    Greta M. Brouphy                      gbrouphy@hellerdraper.com
 Counsel for UBS Securities LLC and                                                                          andrew.clubok@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Andrew Clubok, Sarah Tomkowiak sarah.tomkowiak@lw.com
 Counsel for UBS Securities LLC and                                                                          asif.attarwala@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Asif Attarwala, Kathryn K. George     Kathryn.George@lw.com
 Counsel for UBS Securities LLC and                                                                          jeff.bjork@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Jeffrey E. Bjork, Kimberly A. Posin kim.posin@lw.com
 Counsel for UBS Securities LLC and                                                                          Zachary.Proulx@lw.com;
 UBS AG London Branch                 Latham & Watkins LLP             Zachary F. Proulx, Jamie Wine         Jamie.Wine@lw.com
 Counsel for Highland Capital
 Management Fund Advisors, L.P.,
 NexPoint Advisors, L.P., Highland
 Income Fund, NexPoint Strategic
 Opportunities Fund and NexPoint      Munsch Hardt Kopf & Harr,        Davor Rukavina, Esq., Julian P.   drukavina@munsch.com;
 Capital Inc.                         P.C.                             Vasek, Esq.                       jvasek@munsch.com
                                                                                                         mclemente@sidley.com;
                                                                       Matthew Clemente, Alyssa Russell, alyssa.russell@sidley.com;
 Counsel for Official Committee of                                     Elliot A. Bromagen, Dennis M.     ebromagen@sidley.com;
 Unsecured Creditors                  Sidley Austin LLP                Twomey                            dtwomey@sidley.com
                                                                                                         preid@sidley.com;
                                                                       Penny P. Reid, Paige Holden       pmontgomery@sidley.com;
 Counsel for Official Committee of                                     Montgomery, Juliana Hoffman,      jhoffman@sidley.com;
 Unsecured Creditors                  Sidley Austin LLP                Chandler M. Rognes                crognes@sidley.com
 Counsel for Defendants James                                          Deborah Deitsch-Perez, Michael P. deborah.deitschperez@stinson.com;
 Dondero and Nancy Dondero            Stinson LLP                      Aigen                             michael.aigen@stinson.com




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                             EXHIBIT B
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                                                                                  Exhibit B
                                                                            Adversary Service List
                                                                          Served via First Class Mail


             Description                      CreditorName               CreditorNoticeName                   Address1              Address2        City     State    Zip
                                                                     John Y. Bonds, III, John T.
                                                                     Wilson, IV, Bryan C. Assink,
                                       Bonds Ellis Eppich Schafer    Clay M. Taylor, William R.      420 Throckmorton Street,
  Counsel for James Dondero            Jones LLP                     Howell, Jr.                     Suite 1000                                 Fort Worth   TX      76102
                                                                                                     2200 Ross Avenue, Suite
  Counsel for Nancy Dondero            Greenberg Traurig, LLP        Daniel P. Elms                  5200                                       Dallas       TX      75201

  Counsel for the Dugaboy Investment                                 Douglas S. Draper, Leslie A.    650 Poydras Street, Suite
  Trust and Get Good Trust             Heller, Draper & Horn, L.L.C. Collins, Greta M. Brouphy       2500                                       New Orleans LA       70130
  Counsel for UBS Securities LLC and                                 Andrew Clubok, Sarah            555 Eleventh Street, NW,
  UBS AG London Branch                 Latham & Watkins LLP          Tomkowiak                       Suite 1000                                 Washington   DC      20004
  Counsel for UBS Securities LLC and                                 Asif Attarwala, Kathryn K.      330 North Wabash Avenue,
  UBS AG London Branch                 Latham & Watkins LLP          George                          Ste. 2800                                  Chicago      IL      60611
  Counsel for UBS Securities LLC and                                 Jeffrey E. Bjork, Kimberly A.
  UBS AG London Branch                 Latham & Watkins LLP          Posin                           355 S. Grand Ave., Ste. 100                Los Angeles CA       90071
  Counsel for UBS Securities LLC and                                 Zachary F. Proulx, Jamie
  UBS AG London Branch                 Latham & Watkins LLP          Wine                            1271 Avenue of the Americas                New York     NY      10020
  Counsel for Highland Capital
  Management Fund Advisors, L.P.,
  NexPoint Advisors, L.P., Highland
  Income Fund, NexPoint Strategic
  Opportunities Fund and NexPoint      Munsch Hardt Kopf & Harr,     Davor Rukavina, Esq., Julian                                  500 N. Akard
  Capital Inc.                         P.C.                          P. Vasek, Esq.                  3800 Ross Tower               Street       Dallas       TX      75202
  Counsel for Defendants James                                       Deborah Deitsch-Perez,          3102 Oak Lawn Avenue,
  Dondero and Nancy Dondero            Stinson LLP                   Michael P. Aigen                Suite 777                                  Dallas       TX      75219




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